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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  MELANIE MOORE,

        Plaintiff,

  v.                                                  Case No: 8:20-cv-2184-T-35SPF

  POOCHES OF LARGO, INC. and
  LUIS MARQUEZ, Individually and as
  owner of Pooches of Largo, Inc.,

        Defendants.


                                        ORDER


        THIS CAUSE comes before the Court for consideration of Defendant’s Motion

  to Partially Dismiss the Second Amended Complaint with Prejudice, (Dkt. 50),

  Plaintiff’s response in opposition thereto, (Dkt. 53), Defendant’s Motion to Extend the

  Deadline for Dispositive Motions, (Dkt. 57), and Plaintiff’s response in opposition

  thereto. (Dkt. 58) For the reasons that follow, Defendant’s Motion to Partially

  Dismiss, (Dkt. 50), is GRANTED IN PART and DENIED IN PART and

  Defendant’s Motion to Extend the Deadline for Dispositive Motions, (Dkt. 57), is

  GRANTED.

        I. BACKGROUND

        Plaintiff Melanie Moore initiated this action against her former employer

  Pooches of Largo, Inc. and its owner, Luis Marquez, alleging thirteen causes of action,


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  including failure to pay minimum wages and retaliation in violation of the Fair Labor

  Standards Act (“FLSA”), retaliation in violation of the Florida Whistleblower Act,

  breach of contract, wage theft in violation of Pinellas County Code of Ordinances

  70.306, two counts of fraudulent misrepresentation, promissory fraud, tortious

  interference with contract, abuse of process, defamation per se, “civil conspiracy” in

  violation of 42 U.S.C. § 1985, and intentional infliction of emotional distress. (Dkt. 1)

         On July 28, 2021, the Court granted in part and denied in part Defendants’

  Motion to Dismiss the Complaint, finding that Plaintiff’s breach of contract and FLSA

  wage claims survived dismissal and dismissing the remaining claims. (Dkt. 29) On

  May 2, 2022, Plaintiff requested leave to amend the complaint. (Dkts. 35, 36)

  Defendants opposed the requested relief. (Dkt. 38) The Court granted Plaintiff leave

  to amend the complaint in part. (Dkt. 42) On November 24, 2022, Plaintiff filed a

  Second Amended Complaint, which is the operative complaint in this matter.1 (Dkt.

  43) Plaintiff’s Second Amended Complaint alleges seven causes of action against

  Defendants: (1) failure to pay minimum wages in violation of the FLSA (“Count I”),

  (2) failure to pay minimum wages in violation of Fla. Stat. § 448.110 and Section 24

  Article X of the Florida Constitution (“Count II”), (3) civil theft (“Count III”), (4)

  conversion (“Count IV”), (5) fraudulent misrepresentation (“Count V”), (6) tortious




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    When the Court granted in part and denied in part Plaintiff’s Motion for leave to amend, it
  simultaneously struck Plaintiff’s First Amended Complaint, and instructed Plaintiff to file a pleading
  that comported with the Court’s directives. (Dkt. 42)
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  interference with contract (“Count VI”), and (7) malicious prosecution (“Count VII”).

  (Id.) Defendants seek to dismiss all claims except the wage claims. (Dkt. 50)

         II. LEGAL STANDARD

         The threshold for surviving a motion to dismiss for failure to state a claim under

  Federal Rule of Civil Procedure 12(b)(6) is a low one. Quality Foods de Centro Am.,

  S.A. v. Latin Am. Agribusiness Dev. Corp., S.A., et al., 711 F.2d 989, 995 (11th Cir.

  1983). A plaintiff must plead only enough facts to state a claim to relief that is plausible

  on its face. Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1968-69 (2007)

  (abrogating the “no set of facts” standard for evaluating a motion to dismiss

  established in Conley v. Gibson, 355 U.S. 41, 45-46 (1957)). Although a complaint

  challenged by a Rule 12(b)(6) motion to dismiss does not need detailed factual

  allegations, a plaintiff is still obligated to provide the “grounds” for entitlement to

  relief, and “a formulaic recitation of the elements of a cause of action will not do.”

  Berry v. Budget Rent A Car Sys., Inc., 497 F. Supp. 2d 1361, 1364 (S.D. Fla. 2007)

  (quoting Twombly, 127 S. Ct. at 1964-65). In evaluating the sufficiency of a complaint

  in light of a motion to dismiss, the well pleaded facts must be accepted as true and

  construed in the light most favorable to the plaintiff. Quality Foods, 711 F.2d at 994-

  95. However, the court should not assume that the plaintiff can prove facts that were

  not alleged. Id. Thus, dismissal is warranted if, assuming the truth of the factual

  allegations of the plaintiff’s complaint, there is a dispositive legal issue which precludes

  relief. Neitzke v. Williams, 490 U.S. 319, 326 (1989).



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         III.     DISCUSSION

         Defendant seeks to dismiss all counts in the Second Amended Complaint except

  for Counts I and II, the claims for unpaid wages. (Dkt. 50) For the reasons that follow,

  Defendants’ Motion is due to be GRANTED IN PART and DENIED IN PART.

                A. Count III and IV – Civil Theft and Conversion

         Defendants contend that Count III and IV, Plaintiff’s claims for civil theft and

  conversion, are fatally deficient because Plaintiff has not properly alleged that

  Defendants deprived her of any property she possessed. (Dkt. 50 at 3 – 5) Defendants

  are correct.

         Plaintiff’s claims for conversion and civil theft are premised on the allegation

  that Defendants failed to pay her wages promised and owed. (Dkt. 43 at ⁋⁋ 96, 124)

  “It is well-established law in Florida that a simple debt which can be discharged by the

  payment of money cannot generally form the basis of a claim for conversion or civil

  theft.” Gasparini v. Pordomingo, 972 So. 2d 1053, 1055 (Fla. 3d DCA 2008); see also

  Belford Trucking Co. v. Zagar, 243 So. 2d 646, 648 (Fla. 4th DCA 1970) (“A mere

  obligation to pay money may not be enforced by a conversion action.”). Nonetheless,

  “the general rule does not foreclose a claim for civil theft or conversion under certain

  limited circumstances.” Walker v. Figarola, 59 So. 3d 188, 190 (Fla. 3d DCA 2011).

         Money may be a proper “subject of conversion so long as it consists of specific

  money capable of identification.” Belford Trucking Co., 243 So. 2d at 648 (citation

  omitted). In other words, “there must be an obligation to keep intact or deliver the

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  specific money in question, so that such money can be identified.” Id. Florida courts

  have generally recognized conversion claims concerning money in two situations:

  where defendants have stolen or embezzled specific funds entrusted to them by the

  plaintiffs for the defendants’ own benefit and where defendants refuse to return funds

  owned by the plaintiffs and given to the defendants to hold temporarily in a segregated,

  identifiable account. See Cabana on Collins, LLC v. Regions Bank, No. 11-21204-Civ,

  2011 WL 13223712, at *3 (S.D. Fla. June 7, 2011) (collecting cases). Here, neither

  situation is present. Plaintiff’s alleged entitlement to more wages based upon a job

  posting does not constitute “property” that could be converted, and thus cannot form

  the basis for either a civil theft or conversion claim. As such, both claims fail as a

  matter of law and are DISMISSED with prejudice.

             B. Count VII – Malicious Prosecution

        Defendants also move for dismissal of Plaintiff’s malicious prosecution claim,

  which is premised on her allegation that Defendants initiated a defamation lawsuit

  against her in Miami-Dade Circuit Court. (Dkt. 50 at 7–8; Dkt. 43 at ⁋ 163) Plaintiff’s

  malicious prosecution claim also fails as a matter of law. A claim for malicious

  prosecution requires the plaintiff to allege that “the termination of the original

  proceeding constituted a bona fide termination of that proceeding in favor of the

  present plaintiff.” MacAlister v. Bevis Const., Inc., 164 So. 3d 773, 776 (Fla. 2d DCA

  2015) (quoting Olson v. Johnson, 961 So.2d 356, 359 (Fla. 2d DCA 2007)). The

  defamation action, on which this count is based, was not terminated in Plaintiff’s

  favor. (Dkt. 50-1) It was dismissed without prejudice for want of prosecution. (Dkt.
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  50-12; Dkt. 43 at ⁋ 165) See Cohen v. Corwin, 980 So. 2d 1153, 1156 (Fla. 4th DCA

  2008) (“Where dismissal is on technical grounds, for procedural reasons, or any other

  reason not inconsistent with the guilt of the accused, it does not constitute a favorable

  termination.”). As such, Plaintiff cannot state a claim for malicious prosecution based

  on the defamation case, and the claim for malicious prosecution must be DISMISSED

  with prejudice.

              C. Count VI – Tortious Interference

         Plaintiff’s tortious interference claim also is due to be dismissed. In support of

  this claim, Plaintiff alleges that Defendants presented what they claimed was a

  document altered by Plaintiff and/or her counsel to her attorney, Richard Celler,

  during pre-suit negotiations. (Dkt. 43 at ⁋ 140) As a result, she claims her lawyer

  withdrew his representation of her for fear of being sanctioned by the Florida Bar, or

  he at least demonstrated a dampened enthusiasm for the case which he had previously

  indicated he believed was strong. (Id. at ⁋⁋ 141-152) Defendants challenge the claim

  on grounds that it is protected by the litigation privilege. (Dkt. 50 at 6–7) Florida’s

  litigation privilege provides legal immunity for actions that occur in judicial

  proceedings. Echevarria, McCalla, Raymer, Barrett & Frappier v. Cole, 950 So. 2d

  380, 383 (Fla. 2007). The privilege applies to all torts, regardless of whether the act




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        A      district   court     may      take     judicial     notice    of    public    records
  without converting a motion to dismiss into a motion for summary judgment. See Universal Express,
  Inc. v. U.S. S.E.C., 177 F. App’x 52, 53 (11th Cir. 2006) (citing Bryant v. Avado Brands, Inc., 187
  F.3d 1271, 1278 (11th Cir.1999)). Nevertheless, Plaintiff expressly pleads that the matter was
  dismissed for want of prosecution in the Second Amended Complaint. (Dkt. 43 at ⁋ 165)
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  involves a defamatory statement or other tortious behavior, so long as the act has some

  relation to the proceeding. Id. It has also “been applied to pre-suit communications

  required by statute or by contract as a condition precedent to suit, statements

  compelled by investigatory subpoena, and settlement negotiations aimed at

  concluding ongoing litigation.” Westgate Resorts, Ltd. v. Sussman, 387 F. Supp. 3d

  1318, 1354 (M.D. Fla. 2019). However, the privilege does not apply to misconduct

  that occurs outside the judicial process, which is undertaken to harass and intimidate

  a plaintiff into abandoning her claims. See Jackson v. BellSouth Telecommunications,

  372 F.3d 1250, 1277 (11th Cir. 2004) (citing Am. Nat. Title & Escrow of Fla., Inc. v.

  Guarantee Title & Tr. Co., 810 So. 2d 996, 998 (Fla. 4th DCA 2002).

        The Court is not convinced that the litigation privilege would protect a party

  who falsified a document and presented it to opposing counsel, causing the opposing

  counsel to doubt the client’s veracity and withdraw from the representation of the

  client. However, the Court need not resolve that question on this record.

        The more glaring problem with the claim is that Plaintiff fails to plead damages

  associated with the alleged tortious interference. Moreover, it would appear that she

  cannot do so until after this suit is completed through her actions in her pro se capacity,

  and she either loses or suffers some significant reduction in her recovery that she can

  attribute to the absence of Mr. Celler as her counsel. In other words, the claim is

  premature. As such, Count VI is DISMISSED without prejudice to Plaintiff’s right

  to reassert it in a separate action if she can make out a viable claim in the future.

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             D. Count V – Fraudulent Misrepresentation

        Defendants     also   seek    dismissal   of   Plaintiff’s   claim   for   fraudulent

  misrepresentation, which is premised on alleged false statements that Plaintiff claims

  Defendants made in a job posting online. (Dkt. 50 at 5 – 6; Dkt. 43 at ⁋⁋ 129 - 133)

  Defendants contend this claim is fatally deficient because Plaintiff has not alleged that

  Defendants breached any duty independent of their employment agreement with

  Plaintiff. (Dkt. 50 at 6) Defendants are correct that this Court previously dismissed

  Plaintiff’s fraudulent misrepresentation claim because it was not independent from her

  claim that the Parties had entered into an employment contract based on the

  indeed.com job posting containing the allegedly false representations. (Dkt. 29 at 16 –

  18) However, Plaintiff no longer pleads a claim for breach of contract in the Second

  Amended Complaint and, importantly, no longer alleges that a contract was formed

  between the Parties based on the indeed.com job posting. As such, the Court finds that

  Plaintiff has plausibly stated a claim for fraudulent misrepresentation based on her

  allegation that Defendants made knowingly false assertions in the job posting that the

  position was full-time and paid an annual salary of $35,000, which Plaintiff alleges

  induced her to enter into an employment relationship with Defendants. (Dkt. 43 at ⁋⁋

  129 – 134) As such, the Court DENIES Defendants’ Motion to Dismiss as to the claim

  for fraudulent misrepresentation.




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              E. Dismissal of Defendant Luis Marquez

           As a final matter, Defendants seek dismissal of Defendant Luis Marquez from

  all claims other than Count I, the FLSA wage claim, because there are no factual

  allegations for finding personal liability against him. (Dkt. 50 at 3) The FLSA defines

  the term “employer” broadly, and the Eleventh Circuit has held that “a corporate

  officer with operational control of a corporation's covered enterprise is

  an employer along with the corporation, jointly and severally liable under

  the FLSA for unpaid wages.” Lamonica v. Safe Hurricane Shutters, Inc., 711 F.3d

  1299, 1309 (11th Cir. 2013) (quoting Patel v. Wargo, 803 F.2d 632, 637-38 (11th Cir.

  1986).     “The definition of ‘employer’ under the FMWA is the same as under

  the FLSA.” Marino v. Spizzigo Enterprises, L.L.C., No. 20-24391-CIV, 2021 WL

  8894429, at *5 (S.D. Fla. Feb. 3, 2021). As such, Marquez is subject to liability as an

  employer for both of Plaintiff’s wage claims, asserted in Counts I and II.

           The only remaining claim to consider is Count V, the claim for fraudulent

  misrepresentation. Defendants contend that there are no allegations specific to

  Marquez that could support individual liability against him for this Count, nor are

  there allegations that would support a claim for piercing the corporate veil. (Dkt. 50 at

  3)   Under     Florida   law,   corporate   directors,   officers,   and   members    are

  not personally liable for conduct in furtherance of their corporate duties, except in

  limited circumstances. See Fla. Stat. § 607.0831 (Florida's business judgment

  rule); Cottle v. Storer Communications, Inc., 849 F.2d 570, 574 (11th Cir. 1988)

  (“[u]nder the business judgment rule, directors are presumed to have acted properly,
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  and are called to account for their actions only when they are shown to have engaged

  in fraud, bad faith, or an abuse of discretion”). Nevertheless, a plaintiff

  can pierce the corporate veil by showing that an individual member failed to adhere to

  corporate formalities to such an extent that the member should be individually

  liable. Caladan Aviation, LLC v. Santos, No. 18-14251-CIV, 2019 WL 13062113, at

  *2 (S.D. Fla. Aug. 21, 2019) (citing Molinos Valle Del Cibao, C. por A. v. Lama, 633

  F.3d 1330, 1349 (11th Cir. 2011); Gasparini v. Pordomingo, 972 So.2d 1053, 1055

  (Fla. 3d Dist. Ct. App. 2008)). Defendants are correct that Plaintiff’s Second Amended

  Complaint contains no allegations that would support a theory of corporate veil

  piercing.

        However, if a corporate director commits a tort, “even if those actions were in

  furtherance of the corporate business, he will be liable to third persons injured by his

  actions, regardless of whether liability attaches to the corporation for the tort.”

  Caladan Aviation, LLC, 2019 WL 13062113, at *2 (citing Special Purpose Accounts

  Receivable Co-op Corp. v. Prime One Capital Co., 125 F. Supp. 2d 1093, 1104 (S.D.

  Fla. 2000); First Fin. USA, Inc. v. Steinger, 760 So.2d 996, 997–98 (Fla. 4th DCA

  2000); Ben-Yishay v. Mastercraft Dev., LLC, 553 F. Supp. 2d 1360, 1369 (S.D. Fla.

  2008)).

            Thus, where the plaintiff alleges claims against a corporate director for torts

  that he individually committed, the plaintiff does not need to pierce the corporate veil.

  Id. (citing BB In Tech. Co. v. JAF, LLC, 242 F.R.D. 632, 639 (S.D. Fla. 2007)

  (concluding that the plaintiff did not need to pierce the. corporate veil to recover
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  against the corporation's agent for the tort of negligent misrepresentation which he

  personally committed)).

         Construing Plaintiff’s Second Amended Complaint liberally, the Court is not

  prepared to dismiss Defendant Marquez from Count V at this time. Plaintiff has

  alleged that all acts relevant to Count V were committed by “Defendants” in the plural.

  As such, construed liberally, Plaintiff has alleged that Defendant Marquez personally

  committed or was involved in the commission of the alleged fraudulent

  misrepresentation. A more developed record may reveal that Marquez had no personal

  involvement in the commission of this tort; however, such a determination is

  premature at this stage of the litigation.

         IV.    CONCLUSION

         Upon consideration of the foregoing, it is hereby ORDERED as follows:

            1. Defendant’s Motion to Partially Dismiss the Second Amended

                Complaint with Prejudice, (Dkt. 50), is GRANTED IN PART and

                DENIED IN PART.

                   a. Counts III, IV, and VII are DISMISSED WITH PREJUDICE.

                       Count VI is DISMISSED WITHOUT PREJUDICE.

                   b. Counts I, II, and V survive dismissal.

            2. Defendant shall have fourteen (14) days from the date of this Order to

                answer the Second Amended Complaint.




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           3. In light of this Order, Defendant’s Motion to Extend the Deadline for

              Dispositive Motions, (Dkt. 57), is GRANTED. The deadline for filing

              dispositive motions shall be extended to April 7, 2023. The Parties shall

              have thirty (30) days to respond to any dispositive motion that may be

              filed and fourteen (14) days thereafter to reply. NO FUTHER

              EXTENSIONS OF THESE DEADLINES WILL BE GRANTED. The

              Court will issue an Amended Case Management and Scheduling Order

              by separate notice.

        DONE and ORDERED in Tampa, Florida, this 22nd day of February 2023.




  Copies furnished to:
  Counsel of Record
  Any pro se party




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